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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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LABARRON TATE; BRANDON HOOD; JULIANA JUAREZ
DUFRANE; SCOTT DUFRANE; RYAN LANCASTER;
TARRYN TYLER; and MATTHEW MAHER, individually
and on behalf of all others similarly situated,
                                    Plaintiffs,                                     23-cv-6050 (JGK)
                  -against-

PENNSYLVANIA HIGHER EDUCATION ASSISTANCE
AGENCY; DISCOVER BANK; WELLS FARGO BANK, N.A.;
U.S. BANK, NATIONAL ASSOCIATION; DEUTSCHE BANK
NATIONAL TRUST COMPANY; DEUTSCHE BANK TRUST
COMPANY AMERICAS; THE BANK OF NEW YORK MELLON,
N.A.; THE BANK OF NEW YORK MELLON TRUST COMPANY,
N.A.; UMB BANK, N.A.; WILMINGTON TRUST, N.A.;
WILIMINGTON TRUST COMPANY, N.A.; NELNET
SERVICING, LLC; NELNET, INC; NAVIENT SOLUTIONS,
LLC; NAVIENT CORPORATION; and NAVIENT CREDIT
FINANCE CORPORATION,
                                    Defendants.
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         PLEASE TAKE NOTICE that, pursuant to Rule 41(a)(1) of the Federal Rules of

Civil Procedure, and the equivalent bankruptcy rule, Plaintiffs voluntarily dismiss this

action without prejudice.

Dated: July 18, 2023
       New York, New York

                                                  Respectfully submitted,

                                                  Law Offices of Michael B. Wolk, P.C.

                                                  By: ____/s/ Michael B. Wolk______
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